        Case 1:08-cr-00149-SPW Document 404 Filed 10/19/20 Page 1 of 1




                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                            BILLINGS DIVISION

 UNITED STATES OF AMERICA,
                                                   CR 08-149-BLG-SPW
                       Plaintiff,

 vs.                                                ORDER

 DOMINGO BAEZ,

                       Defendant.

       Upon the Defendant’s Unopposed Motion to Terminate Supervised Release

(Doc. 402), pursuant to 18 U.S.C. § 3583(e)(1) and Fed. R. Crim. P. 32.1(c)(2),

and good cause being shown,

       IT IS HEREBY ORDERED that the Defendant’s motion is GRANTED.

Domingo Baez’s supervised release is terminated as of the date of this Order.

       The Clerk shall forthwith notify the parties and the U.S. Probation Office of

the making of this Order.

       DATED this 19th day of October, 2020.




                                              SUSAN P. WATTERS
                                              United States District Judge
